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 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed September 20, 2018
                                             United States Bankruptcy Judge
 ______________________________________________________________________

                                    IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                              LUBBOCK DIVISION

        IN RE:                                                           §
                                                                         §
         REAGOR-DYKES MOTORS, LP, et al.1                                § Case No. 18-50214-rlj-11
                                                                         § Jointly Administered
                                              Debtor.                    §

                 ORDER (I) AUTHORIZING AND APPROVING: (A) BID PROCEDURES; (B)
                     STALKING HORSE BIDDER AND OVERBID PROTECTIONS;
                            AND (C) FORM AND MANNER OF NOTICES; AND
                         (II) SCHEDULING AN AUCTION AND SALE HEARING

                   The matter having come before this Court on the Motion for Entry of an Order (I)

        Authorizing and Approving: (A) Bid Procedures; (B) Stalking Horse Bidder and Overbid

        Protections; and (C) Form and Manner of Notices; (II) Scheduling an Auction and Sale

        Hearing; (III) Approving the Sale of Substantially All of the Debtors Assets Free and Clear of All

        Liens, Claims, Encumbrances, and Interests; and (IV) Granting Related Relief [Docket No. 222]

        (the “Motion”)2 filed by Reagor-Dykes Motors, LP; Reagor-Dykes Imports, LP; Reagor-Dykes


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         The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216),
        Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), and
        Reagor-Dykes Floydada, LP (Case No. 18-50219).
        2
            All capitalized terms not defined herein shall have the meaning given to them in the Motion.


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        Amarillo, LP; Reagor-Dykes Auto Company, LP; Reagor-Dykes Plainview, LP; Reagor-Dykes

        Floydada, LP (collectively, “Reagor-Dykes” or the “Debtors”).

                   Having reviewed the Motion and all matters brought to the Court’s attention at the

        hearing on September 18, 2018 (the “Bid Procedures Hearing”), and after due deliberation and

        consideration, and it appearing that this Court has jurisdiction over this matter pursuant to 28

        U.S.C. §§ 157 and 1334, that this is a core proceeding pursuant to 28 U.S.C. § 157(b), and that

        venue of this proceeding and the Motion in this district is proper under 28 U.S.C. §§ 1408 and

        1409, the Court finds that:

                   a)    It has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157(b)(1) and

        1334(a). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (N) and (O). Venue is

        proper in this District and in the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                   b)    The notice given of the Motion and the Bid Procedures Hearing thereon was

        reasonable and sufficient in light of the circumstances and nature of the relief requested, and no

        other or further notice of the Bid Procedures Hearing is necessary. A reasonable and fair

        opportunity to object to the Motion and the relief granted in this Order has been afforded under

        the circumstances.

                   c)    The legal and factual bases set forth in the Motion and at the Bid Procedures

        Hearing establish just cause for the relief granted herein; granting the relief is in the best interests

        of the Debtors, the estates, and the creditors thereof.

                   d)    The Debtors have articulated good and sufficient reasons for this Court to grant

        the relief requested in the Motion as provided herein. Such good and sufficient reasons were set

        forth in the Motion and on the record at the Bid Procedures Hearing and are incorporated by

        reference herein and, among other things, form the basis for the findings of fact and conclusions



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        of law set forth herein.      Specifically, the Debtors have demonstrated a sound business

        justification for the Court to approve (i) KamKad Automotive Holdings, LLC (“KamKad”) as

        the Stalking Horse Bidder and (ii) the payment of the Break-Up Fee (as defined herein) to

        KamKad on the terms and conditions identified in the LOI, the Motion, and the Buy Sell

        (“KamKad Proposal”).

                   e)   The Debtors have also demonstrated a compelling and sound business

        justification for the relief granted herein and the timeline proposed by the Debtors set forth

        below is reasonable:


                        i. Initial Good-Faith Deposit Deadline for the Stalking-Horse
                           Bidder: 3:00 p.m. prevailing Central Time on September
                           21, 2018, as the deadline by which the Stalking-Horse Bidder
                           will pay $200,000 as an initial deposit (the “Initial Good-Faith
                           Deposit”), which deposit shall be treated in accordance with
                           the terms of this Order.

                        ii. APA Filing Deadline for the Stalking-Horse Bidder:
                            September 30, 2018, as the deadline by which the Stalking
                            Horse Bidder and the Debtors will execute and file the Stalking
                            Horse APA and the proposed form of the Sale Order.

                        iii. Good-Faith Deposit Deadline for the Stalking-Horse
                             Bidder: 3:00 p.m. prevailing Central Time on October 1,
                             2018, as the deadline by which the Stalking-Horse Bidder will
                             pay the remaining balance of the $1,000,000 good-faith
                             deposit, i.e., $800,000.

                        iv. Assumption and Assignment Notice Deadline: October 24,
                            2018, as the deadline by which the Debtors will file with the
                            Court a notice identifying the proposed cure amounts for all
                            unexpired leases and executory contracts.

                        v. Bid Deadline: 4:00 p.m. prevailing Central Time on
                           November 12, 2018, as the deadline (the “Bid Deadline”) by
                           which Qualified Bidders (as defined in the Bid Procedures)
                           must deliver written copies of their bidding materials consistent
                           with the Bid Procedures to the Debtors and others entitled to
                           receive such copies.



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                        vi. Auction: 10:00 a.m. prevailing Central Time on November
                            15, 2018, as the date on which an auction for the Assets (the
                            “Auction”), if one is necessary, will commence at the offices of
                            Foley Gardere, 2021 McKinney Avenue, Suite 1600, Dallas,
                            TX 75201.

                        vii. Sale Objection Deadline: 4:00 p.m. prevailing Central
                             Time on November 23, 2018, as the deadline (the “Sale
                             Objection Deadline”) by which objections, if any, to the entry
                             of the order approving the Sale Order (defined below) must be
                             filed and served consistent with the Bid Procedures.

                        viii. Objections to Cure Amounts: 4:00 p.m. prevailing
                             Central Time on November 23, 2018, as the deadline by
                             which objections, if any, to the proposed cure amounts related
                             to the assumption and assignment of unexpired leases and
                             executory contracts must be filed and served consistent with
                             the Bid Procedures.

                        ix. Sale Hearing: November 29, 2018, or such other date
                            selected by the Court on which the Sale Hearing will be held
                            in the United States Bankruptcy Court for the Northern District
                            of Texas, Lubbock Division, 1205 Texas Avenue, Room 314,
                            Lubbock, Texas, 79401.

                   f)   The bid procedures (the “Bid Procedures”) set forth in the attached Exhibit 1 (i)

        were proposed by the Debtors in good faith with the goal of maximizing value of the Dealerships

        and the Assets for the benefit of all creditors of the estates and (ii) are fair, reasonable, and

        appropriate and are designed to maximize the value of the Assets to be sold.

                   g)   Approval of the following bid protections (the “Overbid Protections”) as part of

        the Bid Procedures is a necessary and appropriate inducement to the Stalking Horse Bidder to

        make an initial offer that will serve as a “floor” for further bidding, and to enter into the Stalking

        Horse APA and consummate the transactions contemplated thereby, which are as follows:

                        i. a break-up fee of $750,000 payable to KamKad (a) in cash
                           upon consummation of a sale to another bidder at a higher or
                           better offer or (b) as an allowed administrative expense claim
                           under § 503(b) of the Bankruptcy Code if the Debtors fail to
                           close under the Stalking Horse APA for any reason other than
                           (x) a material breach by KamKad or (y) the termination of the

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                           Stalking Horse APA or the LOI by KamKad (the “Break-Up
                           Fee”);

                        ii. an initial overbid requirement of the Break-Up Fee plus
                            $250,000; and

                        iii. subsequent incremental bids must be at least $100,000 more
                             than the previous bid.

                   h)   The form of notice (the “Notice”) attached as Exhibit 2 is adequate and

        reasonably calculated to provide due, proper, and timely notice to all interested parties of (i) the

        Bid Procedures; (ii) the objection deadline to the Motion and related transactions; (iii) the date

        and time set for the Auction, if necessary, (iv) the date and time set for the Sale Hearing in

        accordance with Bankruptcy Rule 2002 and the applicable provisions of the Bankruptcy Code,

        and (v) entry of this Order. Except as otherwise set forth herein, no other or further notice is

        necessary.

                   i)   If held, the Auction is necessary to determine which Qualified Bid represents the

        highest or otherwise best Qualified Bid.

                   j)   The Break-Up Fee and the Overbid Protections are fair and reasonable and were

        negotiated by the parties at arm’s length and in good faith. The Debtors’ obligation to pay the

        Break-Up Fee, consistent with terms of the LOI, is (i) an actual and necessary cost and expense

        of preserving the Debtors’ bankruptcy estates, within the meaning of § 503(b) of the Bankruptcy

        Code, (ii) of substantial benefit to the Debtors’ estates, (iii) reasonable and appropriate, and (iv)

        necessary to ensure that KamKad will continue to pursue its proposed acquisition of the

        Dealerships and the Assets.

                   k)   The Bid Procedures were and are material inducements for, and the conditions of,

        KamKad’s entering into the LOI. KamKad is unwilling to commit to hold open its offer to

        purchase the Assets under the terms of the LOI unless the Break-Up Fee and Overbid Protections


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        are approved. Assurance to KamKad of payment of the Break-Up Fee has promoted and will

        promote more competitive bidding by inducing KamKad’s bid that otherwise would not have

        been made, and without which bidding would have been and would continue to be limited.

        Further, because the Break-Up Fee induced KamKad to submit a bid that will serve as a

        minimum floor bid on which other bidders and the Debtors may rely, KamKad has provided a

        substantial benefit to the Estates by increasing the likelihood that the price at which the Assets

        are sold will reflect the true value of the Assets.

                   l)   The findings of fact and conclusions of law herein constitute the Court’s findings

        of fact and conclusions of law for the purposes of Bankruptcy Rule 7052, made applicable

        pursuant to Bankruptcy Rule 9014. To the extent any findings of facts are conclusions of law,

        they are adopted as such. To the extent any conclusions of law are findings of fact, they are

        adopted as such.

            NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED
        THAT:

                   1.   The Motion is granted, and the Bid Procedures are hereby approved in their

        entirety to be used in connection with the proposed sale of the Assets. The Debtors are hereby

        granted the power and authority to take all steps necessary or appropriate to carry out the

        provisions of this Order and the Bid Procedures. The Bid Procedures are incorporated herein by

        reference as if fully set forth herein. Notwithstanding the foregoing, the consummation of the

        sale of the Assets shall remain subject to the entry of a Sale Order approving the sale of the

        Assets and related transactions as contemplated in the Motion.

                   2.   The Bid Procedures and the Bid Protections are fair and reasonable, are

        reasonably calculated to produce the best or highest offers for the Assets, and will confer actual

        benefit on the Debtors and their estates. The Bid Procedures and the Bid Protections represent


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        an exercise of the Debtors’ sound business judgment and will facilitate an orderly sale process.

                   3.   The Debtors are authorized to take any and all actions necessary or appropriate to

        implement the Bid Procedures. As described in the Bid Procedures, if the Debtors do not receive

        any Qualified Bids, the Auction will not be held. If one or more Qualified Bids is timely received

        from a Qualified Bidder in accordance with the Bid Procedures, then the Debtors shall determine

        the Initial Bid and conduct the Auction as set forth therein. Any disputes as to the final selection

        of the highest or best Qualified Bid, or any other dispute arising from the implementation of the

        Bid Procedures, shall be resolved by this Court.

                   4.   KamKad is hereby approved as the Stalking Horse Bidder on the terms and

        conditions set forth in the LOI attached to the Motion and the Stalking Horse APA.

                   5.   The Break-Up Fee ($750,000) is approved. KamKad shall be entitled to an

        allowed administrative expense in the amount of the Break-Up Fee under § 503(b) of the

        Bankruptcy Code in accordance with the terms of the LOI and may rely on this Order for such

        administrative-expense claim without the need to file a separate motion with the Court.

                   6.   If an Auction is held and KamKad is not a Successful Bidder or any other

        conditions set forth in the LOI governing the Break-Up Fee are satisfied, then KamKad will be

        entitled to the benefits afforded by the Overbid Protections including payment of the Break-Up

        Fee, provided, however, that in the event that after KamKad is selected as a Successful Bidder

        but is denied approval by one or more Franchisor (as defined herein) as required by the LOI,

        KamKad shall not be entitled to the Break-Up Fee. Every bid that KamKad submits during each

        round of any Auction shall include, as a credit against the total bid amount, the amount of the

        Break-Up Fee, and if KamKad is a Successful Bidder, the amount of consideration that KamKad

        provides in order to acquire the Assets shall equal the amount of the Successful Bid less the



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        amount of the Break-Up Fee.

                   7.   The Overbid Protections are approved.

                   8.   Within four (4) business days after the Court enters this Order, the Debtors shall

        serve a copy of the Notice (a) by first class United States mail, postage prepaid, as well as

        service via electronic mail where possible, including, without limitation, (i) all parties who have

        filed a written request for notice in these Chapter 11 cases pursuant to Bankruptcy Rule 2002; (ii)

        the Office of the United States Trustee; (iii) counsel for the top twenty largest unsecured

        creditors (or on such creditors if counsel is unknown); (iv) the Internal Revenue Service; (v) all

        parties on the Debtors’ master service list; (vi) all known parties who assert a lien or other

        interest in the Assets; and (vii) by publication in the Lubbock Avalanche Journal, the Amarillo

        Globe-News and the Dallas Morning News (each at KamKad’s expense); and (b) by the Court’s

        electronic filing system on those parties receiving electronic notice by such system.

                   9.   Within three (3) business days after the Court enters this Order, consistent with

        the terms of the LOI, as modified in open court, KamKad shall place the Initial Good Faith

        Deposit into an interest-bearing and segregated escrow account. The Initial Good Faith Deposit

        shall be non-refundable and shall constitute property of the Debtors’ Estates unless (a) KamKad

        executes the Stalking Horse APA/Buy-Sell Agreement with the Debtors on or before the

        Stalking Horse APA Deadline (as defined herein), (b) the Debtors fail to use reasonable efforts to

        negotiate and execute the Stalking Horse APA by the Stalking Horse APA Deadline, or (c) the

        Debtors’ authority to use cash collateral terminates prior to October 18, 2018; in which case, the

        Initial Good Faith Deposit shall be refunded to KamKad.          The Stalking Horse APA shall

        materially conform to the terms set forth in the LOI. If KamKad executes the Stalking Horse

        APA / Buy-Sell Agreement with the Debtors on or before September 30, 2018, KamKad shall be



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        required to place an additional $800,000 into the same interest-bearing escrow account no later

        than October 1, 2018 (such additional deposit, together with the Initial Good Faith Deposit, the

        “Good Faith Deposit”) and the entirety of the Good Faith Deposit, including the Initial Good

        Faith Deposit, shall be fully refundable in accordance with the terms of the LOI, Stalking Horse

        APA, the Bid Protections and this Order. Provided that KamKad deposits the Initial Good Faith

        Deposit in accordance with this Order, the Debtors shall be barred from soliciting or filing any

        motion with this Court seeking to approve any competing/replacement stalking horse bidder for

        the sale of the Assets from the date of the entry of this Order through and including September

        30, 2018. For the avoidance of doubt, KamKad shall not be liable to the Debtors, the Estates, or

        any other party for any amount in excess of the Initial Good Faith Deposit in the event that the

        parties are unable to execute the Stalking Horse APA.


                   10.   The Sale Hearing shall be held on November 29, 2018, at 2:00 p.m. prevailing

        Central Time in the United States Bankruptcy Court for the Northern District of Texas,

        Lubbock Division, 1205 Texas Avenue, Room 314, Lubbock, Texas, 79401.

                   11.   Any objections, if any, to the Motion must (a) be in writing, (b) state with

        specificity the nature of such objection, (c) comply with the Federal Rules of Bankruptcy

        Procedure, and (d) be filed with this Court, on or before 4:00 p.m., prevailing Central time, on

        November 23, 2018 (the “Objection Deadline”).

                   12.   Any person or entity failing to timely file an objection to the Motion shall be

        forever barred from objecting thereto, including (a) the sale of all of the Debtors’ right, title and

        interest in, to, and in substantially all of its Assets free and clear of any and all liens,

        encumbrances, claims, and other interests; and (b) the assumption and assignment of certain

        specified executory contracts and unexpired leases related to and utilized in connection with the


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        Assets and will be deemed to consent to the sale of such Assets free and clear of any and all

        liens, encumbrances, claims and other interests and the assumption and assignment of certain

        specified executory contracts and unexpired leases.

                   13.   By September 30, the Debtors will file a copy of the executed Stalking Horse

        APA with this Court (the “Stalking Horse APA Deadline”). Within twenty-four (24) hours after

        the Stalking Horse APA is filed with the Court, Elm Tree shall provide written notice of such

        filed document to all parties with whom it has executed non-disclosure agreements concerning

        the marketing of the Assets and to Ford Motor Credit, c/o Severson & Werson, Attn: Duane

        Geck and Donald Cram, One Embarcadero Center, Suite 2600, San Francisco, California 94111,

        and Langley LLP, Keith Langley, 1301 Solana Blvd., Building 1, Suite 1545, Westlake, Texas

        76262, and it shall provide the Debtors with a certificate of such notice, which the Debtors shall

        promptly file on the Court’s docket.

                   14.   By October 24, 2018, the Debtors will file with the Court and serve on each non-

        debtor party to an executory contract or unexpired lease a notice setting forth the amount of cure

        owed thereunder according to the Debtors’ books and records (the “Cure Notice”). The Cure

        Notice shall state the cure amount that the Debtors believe is necessary to assume such contract

        or lease pursuant to § 365 of the Bankruptcy Code (the “Cure Amount”), and notify each non-

        debtor party that such party’s lease or contract may be assumed and assigned to the Stalking

        Horse Bidder or to the successful bidder identified at the conclusion of the Auction, if any.

                   15.   No later than five (5) days prior to the Sale Hearing, any objection to the Cure

        Amount must be filed with the Court (the “Cure Amount Objection Deadline”). Any objection

        to the Cure Amount must state with particularity what alternative cure amount the non-debtor

        party believes is required with appropriate supporting documentation. If no objection is timely



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        received, the Cure Amount set forth in the Cure Notice shall be controlling notwithstanding

        anything to the contrary in any executory contract, unexpired lease or other document as of the

        date of the Cure Notice; the non-debtor party to the executory contract or unexpired lease shall

        be deemed to have stipulated that the Cure Amount set forth in the Cure Notice is correct; the

        non-debtor party shall be forever barred, estopped and enjoined from asserting or claiming that

        any additional amounts are due or other defaults exist, that conditions to assignment must be

        satisfied or that there is any objection or defense to the assumption and assignment of such

        contract or lease, including any argument that there exist conditions to assumption and

        assignment that must be satisfied or that any required consent to assignment has not been given.

                   16.   Notwithstanding Bankruptcy Rules 6004, 6006, or otherwise, this Order shall be

        effective and enforceable immediately upon entry, and its provisions shall be self-executing. To

        the extent applicable, the stays described in Bankruptcy Rules 6004(h) and 6006(d) are hereby

        waived.

                   17.   The terms of this Order shall control to the extent of any conflict with the Motion.

                   18.   The Court shall retain jurisdiction over any matter or dispute arising from or

        relating to the implementation of this Order.

                   19.   Nothing in this Order, the LOI, or the "Buy Sell" Agreement releases, nullifies,

        precludes, or enjoins the enforcement of any police or regulatory liability to a governmental unit

        arising from or related to the enforcement of any applicable police or regulatory law or regulation

        (including, without limitation, those of the Texas Department of Motor Vehicles) to which any

        entity would be subject to as the owner or operator of property from and after the date of the

        closing of the Sale.      Nothing in this Order authorizes the transfer or assignment of any

        governmental (a) license, (b) permit, (c) registration, (d) authorization, or (e) approval, or the



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        discontinuation of any obligation thereunder, without compliance with all applicable legal

        requirements and approvals under police and regulatory law.

                   20.   Objections by Manufacturers. Gulf States Toyota, Inc., General Motors LLC,

        and Ford Motor Company (collectively, the “Franchisors”), all filed or expressed orally

        objections to the Motion, arguing a number of rights related to their respective Dealer

        Agreements (collectively, “Franchisor Objections”). See Docket Nos. 252 (Toyota), 262 (GM),

        and Ford orally. Entry of this Order is without prejudice to such Franchisor Objections. The

        Debtors, on one hand, and the Franchisors, on the other hand, shall work in good faith to resolve

        the Franchisor Objections after entry of this Order. If the Debtors and the Franchisors resolve

        the Franchisor Objections, they shall submit an agreed order for this Court’s review and entry. If

        the Debtors and the Franchisors are unable to resolve the Franchisor Objections, this Court shall

        hold a supplemental hearing on October 5, 2018, at 10:00 a.m. prevailing Central Time in the

        United States Bankruptcy Court for the Northern District of Texas, Lubbock Division, 1205

        Texas Avenue, Room 314, Lubbock, Texas, 79401.

                                          # # # END OF ORDER # # #

        SUBMITTED BY:

        /s/ Marcus A. Helt
        Marcus A. Helt (TX 24052187)
        C. Ashley Ellis (TX 00794824)
        FOLEY GARDERE
        Foley & Lardner LLP
        2021 McKinney Avenue, Suite 1600
        Dallas, TX 75201
        Telephone: (214) 999-3000
        Facsimile: (214) 999-4667

        PROPOSED COUNSEL TO DEBTORS
        REAGOR-DYKES MOTORS, LP et al.




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                                           EXHIBIT 1: Bid Procedures


        Marcus A. Helt (TX 24052187)
        C. Ashley Ellis (TX 00794824)
        FOLEY GARDERE
        FOLEY & LARDNER LLP
        2021 McKinney Avenue, Suite 1600
        Dallas, TX 75201
        Telephone: 214.999.3000
        Facsimile: 214.999.4667

        PROPOSED COUNSEL TO DEBTORS
        REAGOR-DYKES MOTORS, LP et al.

                                IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                          LUBBOCK DIVISION

             IN RE:                                                  §
                                                                     §
             REAGOR-DYKES MOTORS, LP, et al.3                        § Case No. 18-50214-rlj-11
                                                                     § Jointly Administered
                                            Debtor.                  §


                                     BIDDING AND SALE PROCEDURES

               Set forth below are the bid and sale procedures (the “Bid Procedures”) to be employed
        with respect to the proposed disposition (the “Sale”) of substantially all of the Assets of Reagor-
        Dykes Motors, LP; Reagor-Dykes Imports, LP; Reagor-Dykes Amarillo, LP; Reagor-Dykes
        Auto Company, LP; Reagor-Dykes Plainview, LP; Reagor-Dykes Floydada, LP (collectively,
        “Reagor-Dykes” or the “Debtors”), in the above-captioned, jointly administered Chapter 11 case
        (the “Chapter 11 Case”).

                                          BID PROCEDURES MOTION

               On September 10, 2018, the Debtors filed a Motion for Entry of an Order (I) Authorizing
        and Approving: (A) Bid Procedures; (B) Stalking Horse Bidder and Overbid Protections; and
        (C) Form and Manner of Notices; (II) Scheduling an Auction and Sale Hearing; (III) Approving
        the Sale of Substantially All of the Debtors Assets Free and Clear of All Liens, Claims,
        Encumbrances, and Interests; and (IV) Granting Related Relief [Docket No. 222] (the “Sale
        Motion”) in the United States Bankruptcy Court for the Northern District of Texas, Lubbock
        Division (the “Bankruptcy Court”) seeking the entry of an order: (a) approving the Bid

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         The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216),
        Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), and
        Reagor-Dykes Floydada, LP (Case No. 18-50219).

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        Procedures, (b) approving the Stalking Horse Bidder and Overbid Protections, (c) approving
        form and manner of notices, (d) scheduling an auction and sale hearing, (e) approving the sale of
        substantially all of the assets of the Debtors free and clear of all liens, claims, encumbrances and
        interests pursuant to an asset purchase agreement consistent with the terms and conditions set
        forth on the LOI (as defined below), (f) approving the assumption and assignment of the
        “Assigned Contracts” as defined in the LOI, and (g) granting related relief.

               These Bid Procedures were approved and authorized by the Bankruptcy Court’s Order (I)
        Authorizing and Approving: (A) Bid Procedures; (B) Stalking Horse Bidder and Overbid
        Protections; and (C) Form and Manner of Notices; and (II) Scheduling an Auction and Sale
        Hearing [Docket No. ___] (the “Bid Procedures Order”) in the Chapter 11 Case.

                                           THE BIDDING PROCESS

                   1.   Bidding Process. Set forth below is the general process to be employed by the

        Debtors with respect to the Sale of substantially all of their Assets, such Assets consisting

        primarily of the Dealerships and certain related assets used in the operation of the Dealerships

        (as defined in the Sale Motion):

                        a)     With the assistance of their Chief Restructuring Officer
                               firm BlackBriar Advisors, L.L.P., the Debtors shall market
                               the Assets to those parties reasonably known to have a
                               potential interest in purchasing such Assets.

                        b)     The Debtors have obtained a “stalking-horse” bid from
                               KamKad Automotive Holdings, LLC (the “Stalking Horse
                               Bidder”). The Debtors and the Stalking Horse Bidder have
                               entered into a nonbinding letter of intent (the “LOI”)
                               attached to the Sale Motion, which contemplates the sale of
                               the Assets to the Stalking Horse Bidder for (i) a cash
                               purchase price of $25,321,520.00, (ii) the assumption of
                               certain liabilities, and (iii) the payoff of existing-inventory
                               liens.

                        c)     Any person interested in making an offer to purchase the
                               Assets shall comply with these Bidding Procedures. Only
                               Qualified Bids (as defined below) shall be considered by
                               the Debtors.

                        d)     If the Debtors do not receive another Qualified Bid prior to
                               the Bid Deadline (as defined below), then the Stalking
                               Horse Bidder’s offer to acquire the Assets under the letter
                               of intent shall constitute the Successful Bid (as defined
                               below).

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                        e)     If the Debtors receive another Qualified Bid prior to the
                               Bid Deadline, then the Debtors, after consultation with their
                               counsel and professionals, shall select the highest or
                               otherwise best Qualified Bid as the Successful Bid after the
                               Auction (as defined below) considering, among other
                               things, the financial and contractual terms relevant to the
                               Sale, including those factors affecting speed and certainty
                               of consummating the Sale or the overall value to be
                               provided thereby.

                        f)     Upon failure to consummate the Sale because of a breach
                               on the part of the Successful Bidder (as defined below)
                               after an order entered at the Sale Hearing, the Debtors shall
                               be permitted to (i) retain the Successful Bidder’s Deposit
                               (as defined below) as liquidated damages and (ii) select the
                               next highest or otherwise best Qualified Bid to be the
                               Successful Bid and to consummate such transaction
                               without further order of the Bankruptcy Court.

                        g)     All Qualified Bidders (as defined below) at the Auction
                               shall be deemed to have consented to the core jurisdiction
                               of the Bankruptcy Court and waive any right to a jury trial
                               in connection with any disputes relating to the Auction, and
                               the construction and enforcement of the Qualified Bidder’s
                               contemplated transaction documents, as applicable.

                                    PARTICIPATION REQUIREMENTS

                   2.   Potential Bidder. Any person other than the Stalking Horse Bidder desiring to

         participate in the bidding process (each, a “Potential Bidder”) will be required to deliver (unless

         previously delivered) to the Notice Parties (defined below), on or before the Bid Deadline, a

         Qualified Bid inclusive of a complete Bid Package (defined below).

                   3.   Qualified Bid Requirements. “Qualified Bid” means (a) the Stalking Horse

        Bidder’s offer to acquire the Assets pursuant to the Stalking Horse APA (b) a competing bid

        from a Potential Bidder if (i) the Debtors determine that such bid is higher or otherwise better

        than the bid set forth in the Stalking Horse APA and would be consummated if selected as the

        Successful Bid and (ii) such bid was received prior to the Bid Deadline and included each of the

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        following (collectively, a “Bid Package”):

                          a)     An unqualified and binding bid in an amount of total
                                 consideration that exceeds the consideration offered by the
                                 Stalking Horse Bidder, plus the Break-Up Fee and plus
                                 $250,000 (provided, however, if the bid is for less than the
                                 total Assets contemplated by the Stalking Horse
                                 Agreement, such consideration shall reasonably represent a
                                 premium to an approximate allocation of such Stalking
                                 Horse Agreement; provided further, that in determining the
                                 value of the Bid, the Debtors will not be limited to
                                 evaluating the dollar value of the consideration but may
                                 also consider other factors including the speed, certainty
                                 and value of the proposed transaction);

                          b)     A form of asset purchase agreement, based on the Stalking
                                 Horse APA and substantially identical to such Stalking
                                 Horse APA, marked to show changes from the Stalking
                                 Horse APA, inclusive of all schedules and exhibits thereto;

                          c)     An earnest-money deposit (the “Deposit”) in cash or in
                                 other form of immediately available U.S. funds equal to
                                 $1,000,000 to be held in the Debtor’s counsel’s trust
                                 account, which be refundable as set forth herein; and

                          d)     Current financial statements of the Potential Bidder, or if
                                 the Potential Bidder is an entity formed for the purpose of
                                 acquiring the Assets, current financial statements of the
                                 equity holder(s) of the Potential Bidder and such other
                                 information as required by the Debtors, in their sole
                                 discretion sufficient to allow the Debtors to make a
                                 reasonable determination as to such bidder’s ability to
                                 consummate the submitted asset purchase agreement.

                   To be considered a Qualified Bid, each Potential Bidder’s APA shall remain open,

        enforceable, and irrevocable in accordance with its terms until after the Debtors close the

        purchase and sale of the Assets and shall:

                          a)     Fully disclose the identity of the entity that will be bidding
                                 or participating in connection with such Bid, including any
                                 terms regarding or restricting such participation, and
                                 provide proof the Potential Bidder is legally empowered,
                                 by power of attorney or otherwise, to legally bind such
                                 Bidder to an enforceable Bid;


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                           b)     Provide that the Assets are being purchased “as is, where
                                  is,” and that such Potential Bidder is not relying on any
                                  representation or warranty from the Debtors, or its
                                  bankruptcy estate or any person or entity, except as
                                  otherwise provided in the Stalking Horse APA, if any;

                           c)     Contain no (i) contingencies of any kind or character,
                                  (ii) indemnities, (iii) purchase price adjustments, or
                                  (iv) qualifications relating to due diligence, financing or
                                  board approval;

                           d)     Contain no conditions to closing of the Sale on the receipt
                                  of any third-party approvals (excluding required
                                  Bankruptcy Court approval);

                           e)     Provide that the offer is irrevocable through thirty (30) days
                                  after the entry of the Sale Order approving the Sale.

                           f)     Provide an express statement that: (i) the Potential Bidder
                                  agrees to all terms of the Sale Procedures; and (ii) the
                                  Potential Bidder has not engaged in any collusive
                                  discussion with any other Potential Bidder.

                   For the avoidance of doubt, the Stalking Horse Bidder shall be deemed to be a Qualified

        Bidder and shall not be required to submit a Bid Package.              Ford Motor Credit Company

        (“FMCC”) or any other lien holder shall be entitled to attend the Auction and credit bid, to the

        extent allowed by applicable law or any order of this Court, provided that, if FMCC or such

        other lien holder desires to credit bid its debt and is the ultimate buyer of the Assets, FMCC or

        such other lien holder must pay $750,000 of cash to the Estates in addition to its credit bid to

        satisfy payment of the Break-Up Fee to the Stalking Horse Bidder.

                   4.      Qualified Bidder.     Only Qualified Bidders may participate in the bidding

        process.        A Potential Bidder who delivers the documents described above (including all

        subparagraphs) and who the Debtors determine, in their sole and absolute discretion, is likely

        (based on availability of financing, experience and other considerations) to be able to

        consummate the Sale will be deemed to be a “Qualified Bidder.”                 The Debtors shall, in

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        consultation with Ford Motor Credit, determine whether a Potential Bidder is a Qualified Bidder

        and shall provide written notice of its determination to such Potential Bidder and to each then

        existing Qualified Bidder.

                                              NOTICE PARTIES

                   5.   Notice Parties. The following parties are referred to herein and defined as the

        “Notice Parties” for the purpose of these Bid Procedures:


                               Counsel for the Debtors:
                                     Marcus A. Helt
                                     C. Ashley Ellis
                                     Foley Gardere
                                     2021 McKinney Avenue, Suite 1600
                                     Dallas, TX 75201

                               Counsel for the Stalking Horse Bidder:
                                     Gregory M. Wilkes
                                     Norton Rose Fulbright US LLP
                                     2200 Ross Avenue, Suite 3600
                                     Dallas, TX 75201

                               Counsel for Ford Motor Credit Company LLC:
                                     Duane M. Geck
                                     Donald H. Cram
                                     Severson & Werson
                                     A Professional Corporation
                                     One Embarcadero Center, Suite 2600
                                     San Francisco, CA 94111

                               United States Trustee:
                                      Stephen McKitt
                                      United States Trustee
                                      1100 Commerce Street, Room 976
                                      Dallas, TX 75242
                                  BID DEADLINE AND REQUIREMENTS

                   6.   Bid Deadline. A Qualified Bidder, other than the Stalking Horse Bidder, that

        desires to make a bid shall deliver written copies of its Bid Package by email so that such is

        actually received by counsel for the Debtors no later than 4:00 p.m. prevailing Central Time

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        on November 12, 2018 (the “Bid Deadline”).              The Debtors shall then distribute any Bid

        Packages received prior to the Bid Deadline to the Notice Parties.

                   7.    Bid Rejection. In determining whether a bid is a Qualified Bid, the Debtors shall

        reject any bid that: (a) is on terms that are materially more burdensome or conditional than the

        terms of the Stalking Horse APA; (b) requires the Debtors to indemnify the Qualified Bidder or

        any other person; (c) includes non-cash consideration that is not freely marketable; or (d) is

        subject to any due-diligence condition, financing condition, or other contingencies or conditions

        that are not included in the Stalking Horse APA.

                   8.    Initial Bid. After the Bid Deadline, the Debtors shall determine which Qualified

        Bid represents the then highest or otherwise best value to the Debtors (the “Initial Bid”). No

        later than 12:00 p.m. prevailing Central Time on the day prior to the Auction, if any, the Debtors

        shall distribute copies of the Initial Bid to each Qualified Bidder.

                                                    AUCTION

                   9.    Auction. If the Debtors receive at least one Qualified Bid (other than that of the

        Stalking Horse Bidder) on or prior to the Bid Deadline, the Debtors will conduct an auction (the

        “Auction”) for the sale of the Assets. If necessary, the Auction will commence at 10:00 a.m.

        prevailing Central Time on November 15, 2018 at the offices of Foley Gardere, 2021

        McKinney Avenue, Suite 1600, Dallas, TX 75201.

                   10.   Participation. Only Qualified Bidders and Ford Motor Credit are eligible to

        participate in the Auction. No later than 5:00 p.m. prevailing Central Time on the day prior to

        the Auction, each Qualified Bidder must inform the Debtors whether it intends to participate in

        the Auction. The Debtors will promptly thereafter inform in writing each Qualified Bidder who

        has expressed its intent to participate in the Auction of the identity of all other Qualified Bidders



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        that have indicated their intent to participate in the Auction. If the Debtors do not receive any

        Qualified Bids other than the Stalking Horse APA or if no Qualified Bidder other than the

        Stalking Horse Bidder has indicated its intent to participate in the Auction, the Debtors will not

        hold an auction and the Stalking Horse Bidder will be named the Successful Bidder.

                   11.   Auction Procedures.      The Auction shall be governed by the following

        procedures:

                         a)    Attendance. Only the Debtors, Stalking Horse Bidder,
                               Ford Motor Credit and any other Qualified Bidder who has
                               submitted a Qualified Bid and each of their respective
                               advisors will be entitled to attend the Auction, and only the
                               Stalking Horse Bidder and Qualified Bidders will be
                               entitled to make any subsequent Qualified Bids at the
                               Auction;

                         b)    No Collusion. Each Qualified Bidder shall be required to
                               confirm that it has not engaged in any collusion with
                               respect to the bidding or the Sale;

                         c)    Minimum Overbid. The Auction shall begin with the
                               Initial Bid and proceed therefrom in minimum additional
                               cash increments of $100,000;

                         d)    Credit for Break-Up Fee. Every bid that KamKad submits
                               during each round of any Auction shall include, as a credit
                               against the total bid amount, the amount of the Break-Up
                               Fee; and if KamKad is the Successful Bidder, the amount
                               of consideration that KamKad provides to acquire the
                               Assets shall equal the amount of the Successful Bid less the
                               amount of the Break-Up Fee;

                         e)    Bidding Disclosure. The Auction shall be conducted such
                               that all bids will be made and received in one room, on an
                               open basis, and all Qualified Bidders will be entitled to be
                               present for all bidding with the understanding that the true
                               identity of each bidder will be fully disclosed to all other
                               bidders and that all material terms of each subsequent bid
                               will be fully disclosed to all other bidders throughout the
                               entire Auction;

                         f)    Bidding Conclusion. The Auction shall continue in one or
                               more rounds of bidding and will conclude after (i) each

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                               participating Qualified Bidder has had the opportunity to
                               submit one or more additional bids with full knowledge and
                               written confirmation of the then-existing highest bid or bids
                               and (ii) there is only one offer that the Debtors determine is
                               the Successful Bid; and,

                         g)    No Post-Auction Bids. No bids will be considered for any
                               purpose after the Auction has concluded.

                                     SELECTION OF SUCCESSFUL BID

                   12.   Successful Bid Selection.    At the conclusion of the Auction, or as soon as

        practicable thereafter, the Debtors, in consultation with their advisors and Ford Motor Credit,

        will: (a) review each Qualified Bid, considering, among other things, in their sole discretion, (i)

        the amount of the purchase price, (ii) the form of consideration being offered, (iii) the likelihood

        of the Qualified Bidder’s ability to close a transaction and the timing thereof and (iv) the net

        benefit to the estates; and (b) identify the highest or otherwise best offer for the Assets received

        at the Auction (the “Successful Bid” and the bidder making such bid, the “Successful Bidder”).

                   13.   Successful Bid Acknowledgement. Within one business day after adjournment

        of the Auction, the Successful Bidder shall complete and execute all agreements, contracts,

        instruments or other documents evidencing and containing the terms and conditions upon which

        the Successful Bid was made.

                                             THE SALE HEARING

                   14.   Sale Hearing.    On November 29, 2018 at 2:00 p.m. prevailing Central

        Standard Time, the Debtors will seek entry of an order from the bankruptcy court at a hearing

        (the “Sale Hearing”) to approve and authorize a Sale to the Successful Bidder pursuant to the

        Successful Bid (the “Sale Order”). With the consent of the Successful Bidder, the Sale Hearing

        may be adjourned or rescheduled without notice by an announcement of the adjourned date at the

        Sale Hearing or otherwise.


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                                              BACK-UP BIDDER

                   15.   Back-Up Bidding. At the conclusion of the Auction, the Debtors may, in their

        sole discretion, require the second highest Qualified Bidder to serve as a “Back-Up Bidder” and

        remain obligated to close the Sale at the terms set forth in its last Bid the (“Back-Up Bid”) in the

        event that the Sale to the Successful Bidder does not close. The Back-Up Bidder shall be

        obligated until ten (10) business days after the Sale Order becomes final and non-appealable, or

        such other time period as agreed to by the Back-Up Bidder and Sellers (the “Back-Up Release

        Date”).

                                           RETURN OF DEPOSITS

                   16.   Return Date. The Deposits of all Qualified Bidders – including the Good Faith

        Deposit – will be held in an interest-bearing escrow account and all Qualified Bids (other than

        the Back-Up Bid and the Successful Bid) will remain open until two (2) business days following

        the Sale Hearing (the “Return Date”). The Deposit of the Back-Up Bidder will be held in an

        interest- bearing account until the earlier of (a) the next business day following the closing with

        the Successful Bidder and (b) the Back-Up Release Date.            The Deposit submitted by the

        Successful Bidder, together with interest thereon, will be applied against the payment of the

        Purchase Price upon the closing of the Sale to the Successful Bidder. On the Return Date, the

        Debtors will return the Deposits of all other Qualified Bidders, including the Good Faith Deposit,

        together with the accrued interest thereon.

                                         RESERVATION OF RIGHTS

                   17.   Sellers’ Reservation of Rights. The Debtors have the right to adopt such other

        rules for the Auction that the Debtor believes in its business judgment will promote the goals of

        the Auction, including, without limitation, that the Debtor can continue to take and negotiate bids



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        in lot or in bulk until the Successful Bid(s) have been selected. Further, the Debtors may (a)

        determine which Qualified Bid is the highest or otherwise best offer(s); and (b) reject at any time

        before entry of an Order of the Bankruptcy Court approving the Successful Bid(s), any bid that, in

        the discretion of the Debtor, is (i) inadequate or insufficient, (ii) not in conformity with the

        requirements of the Bankruptcy Code or the Bid Procedures, or (iii) contrary to the best interests

        of Debtors’ estates and their creditors. At or before the conclusion of the Auction, the Debtors

        may impose such other terms and conditions on Qualified Bidders as the Debtors determines to be

        in the best interests of the Debtors’ estate. Further, the Debtors may (a) determine, which

        Qualified Bid is the highest or otherwise best offer, (b) reject at any time before entry of an order

        of the Bankruptcy Court approving a Qualified Bid, any Bid that is (i) inadequate or insufficient,

        (ii) not in conformity with the requirements of the Bankruptcy Code, the Bid Procedures or the

        terms and conditions of sale or (iii) contrary to the best interests of the Debtors, their estates and

        creditors, and (c) change the Bid Procedures to maximize the value of the Dealerships and Assets

        and in the best interests of the bankruptcy estates and the stakeholders thereof.

                         SALE OF THE ASSETS FREE OF ANY AND ALL LIENS, CLAIMS,
                                    ENCUMBRANCES, AND INTERESTS

                   18.     Assets to be Sold. The Debtors seek to sell substantially all of their Assets,

        inclusive of the Dealerships, in one or more Asset Package(s) (the “Purchased Assets”). The

        Debtors are considering all bid proposals but are seeking a comprehensive sale of their Assets

        and therefore encourage bidders to provide flexibility with regard to the Assets included in

        proposals.

                   19.     Sale Free and Clear. Except as otherwise provided in the Sale Motion and any

        exhibits thereto, all of the Debtors’ rights, title, and interest in and to the Purchased Assets

        subject thereto shall be sold free and clear of all pledges, liens, security interests, encumbrances,

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        claims, charges, options and interests thereon and there against (collectively, the “Interests”) in

        accordance with § 363 of the Bankruptcy Code, with such Interests to attach to the net proceeds

        of the sale of the Assets. However, notwithstanding anything contained in these Bid Procedures

        or the Sale Motion to the contrary, no sale under 11 U.S.C. § 363 shall occur without approval by

        the Bankruptcy Court.




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                                           EXHIBIT 2: Form of Notice


        Marcus A. Helt (TX 24052187)
        C. Ashley Ellis (TX 00794824)
        FOLEY GARDERE
        FOLEY & LARDNER LLP
        2021 McKinney Avenue, Suite 1600
        Dallas, TX 75201
        Telephone: 214.999.3000
        Facsimile: 214.999.4667

        PROPOSED COUNSEL TO DEBTORS
        REAGOR-DYKES MOTORS, LP et al.

                                IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                          LUBBOCK DIVISION

             IN RE:                                                  §
                                                                     §
             REAGOR-DYKES MOTORS, LP, et al.4                        § Case No. 18-50214-rlj-11
                                                                     § Jointly Administered
                                            Debtor.                  §

                              NOTICE OF (I) SALE OF SUBSTANTIALLY
                        ALL ASSETS OF THE DEBTORS AND (II) SALE HEARING

                PLEASE TAKE NOTICE that, on September 10, 2018, Reagor-Dykes Motors, LP;
        Reagor-Dykes Imports, LP; Reagor-Dykes Amarillo, LP; Reagor-Dykes Auto Company, LP;
        Reagor-Dykes Plainview, LP; Reagor-Dykes Floydada, LP (collectively, “Reagor-Dykes” or the
        “Debtors”) filed a Motion for Entry of an Order (I) Authorizing and Approving: (A) Bid
        Procedures; (B) Stalking Horse Bidder and Overbid Protections; and (C) Form and Manner of
        Notices; (II) Scheduling an Auction and Sale Hearing; (III) Approving the Sale of Substantially
        All of the Debtors Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests; and
        (IV) Granting Related Relief [Docket No. 222] (the “Sale Motion”) in the United States
        Bankruptcy Court for the Northern District of Texas, Lubbock Division (the “Bankruptcy
        Court”) seeking the entry of an order: (a) approving the Bid Procedures, (b) approving the
        Stalking Horse Bidder and Overbid Protections, (c) approving form and manner of notices, (d)
        scheduling an auction and sale hearing, (e) approving the sale of substantially all of the assets of
        the Debtors free and clear of all liens, claims, encumbrances and interests pursuant to an asset
        purchase agreement consistent with the terms and conditions set forth on the LOI (as defined
        below), (f) approving the assumption and assignment of the “Assigned Contracts” as defined in

        4
         The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216),
        Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), and
        Reagor-Dykes Floydada, LP (Case No. 18-50219).

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        the LOI, and (g) granting related relief. The Sale Motion set forth the Debtors’ intent to sell
        substantially all of its assets to KamKad Automotive Holdings, LLC or one of its affiliates (the
        “Purchaser”).

               On September ___, 2018, the Court entered its Order (I) Authorizing and Approving: (A)
        Bid Procedures; (B) Stalking Horse Bidder and Overbid Protections; and (C) Form and Manner
        of Notices; and (II) Scheduling an Auction and Sale Hearing [Docket No. ___] (the “Bid
        Procedures Order”) in the Chapter 11 Case.

                PLEASE TAKE FURTHER NOTICE THAT pursuant to the Bid Procedures, a
        Potential Bidder that desires to make a bid shall deliver an electronic copy of its bid to the parties
        identified in the Bid Procedures so as to be received no later than November 12, 2018 (the
        “Bid Deadline”) and otherwise comply with the Bid Procedures. FAILURE TO ABIDE
        BY THE BID PROCEDURES MAY RESULT IN A BID BEING REJECTED. Any party
        interested in the proposed Sale process should contact Elm Tree, c/o Mr. Thompson, at the
        following email address and phone number: 512.423.1243, jthompson@elmfund.com, and
        Elm Tree Advisors V, LLV, c/o John Thompson, 3112 Windsor Road, A-365, Austin, Texas
        78703.

                PLEASE TAKE FURTHER NOTICE THAT pursuant to the Bid Procedures, if the
        Debtors receive at least one Qualified Bid (other than that of the Stalking Horse Bidder) on or
        prior to the Bid Deadline, the Debtors will conduct an auction (the “Auction”) for the sale of the
        Assets. If necessary, the Auction will commence at 10:00 a.m. prevailing Central Time on
        November 15, 2018 at the offices of Foley Gardere, 2021 McKinney Avenue, Suite 1600,
        Dallas, TX 75201. Only Qualified Bidders (including the Stalking Horse Bidder) and Ford
        Motor Credit, shall be entitled to participate in the Auction.

               PLEASE TAKE FURTHER NOTICE THAT if the Debtors do not receive any
        Qualified Bids other than the Stalking Horse APA or if no Qualified Bidder other than the
        Stalking Horse Bidder has indicated its intent to participate in the Auction, the Debtors will not
        hold an auction and the Stalking Horse Bidder will be named the Successful Bidder.

               PLEASE TAKE FURTHER NOTICE that the hearing (the “Sale Hearing”) to
        approve the Motion will be held on November 29, 2018 at 2:00 p.m. in the United States
        Bankruptcy Court for the Northern District of Texas, Lubbock Division, 1205 Texas Avenue,
        Room 314, Lubbock, Texas, 79401.

                PLEASE TAKE FURTHER NOTICE that the deadline for filing an objection to the
        Sale(s) is November 23, 2018 at 4:00 P.M. CST. Any such objection must (a) be in writing,
        (b) state with specificity the nature of such objection, (c) comply with the Federal Rules of
        Bankruptcy Procedure and the Bid Procedures, and (d) be filed with the Court and served
        on undersigned counsel for the Debtors and the Notice Parties as set forth in the Bid
        Procedures.

                PLEASE TAKE FURTHER NOTICE that the deadline for filing an objection to the
        Debtors’ proposed cure amounts related to the assumption and assignment of unexpired
        leases and executory contracts is November 23, 2018 at 4:00 P.M. CST. Any such objection

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        must (a) be in writing, (b) state with specificity the nature of such objection, (c) comply
        with the Federal Rules of Bankruptcy Procedure and the Bid Procedures, and (d) be filed
        with the Court and served on undersigned counsel for the Debtors and the Notice Parties as
        set forth in the Bid Procedures. PLEASE TAKE FURTHER NOTICE that copies of
        pleadings related to the proposed sale, including the Sale Procedures Order (and attached bid
        procedures) approved by the Court, are available on the Bankruptcy Court’s website at
        https://ecf.txnb.uscourts.gov/. You can also request any pleading you need from the proposed
        counsel for the Debtors listed below.

        DATED: September 18, 2018

        Respectfully submitted by:

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